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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                             Case No.: 1:20-cv-23287(DPG)(AMO)

     LUIS MANUEL RODRIGUEZ, et al.,

                                    Plaintiffs,
                       v.

     IMPERIAL BRANDS PLC, et al.,

                                  Defendants.




         PLAINTIFFS' OBJECTIONS TO THE SUPPLEMENTAL REPORT AND
        RECOMMENDATION ON DEFENDANTS IMPERIAL BRANDS PLC AND
       WPP PLC’S MOTIONS TO DISMISS THE SECOND AMENDED COMPLAINT




                     EXHIBIT A
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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                         Case No. 20-23287-CIV-GAYLES/OTAZO-REYES


    LUIS MANUEL RODRIGUEZ, et al.,

           Plaintiffs,

    v.

    IMPERIAL BRANDS PLC, et al.,

          Defendants.
    ______________________________________/

                     SUPPLEMENTAL REPORT AND RECOMMENDATION

           THIS CAUSE came before the undersigned upon the Court’s Order on Report and

    Recommendation [D.E. 307], which the undersigned had issued on November 2, 2022, with

    respect to the following submissions:

                  Defendant Corporación Habanos, S.A.’s (“Habanos”) Motion to Dismiss the
                   Second Amended Complaint (hereafter, “Habanos’ Motion to Dismiss”) [D.E.
                   225];

                  Defendant Imperial Brands plc’s (“Imperial”) Motion to Dismiss the Second
                   Amended Complaint (hereafter, “Imperial’s Motion to Dismiss”) [D.E. 226];

                  Defendants WPP plc (“WPP”), Young & Rubicam LLC (“Y&R”), and BCW LLC
                   (“BCW”) (WPP, Y&R, and BCW, together, “WPP Defendants”)’s Motion to
                   Dismiss the Second Amended Complaint (hereafter, “WPP Defendants’ Motion to
                   Dismiss”) [D.E. 229]; and

                  Imperial, Habanos, and WPP Defendants’ Motion to Dismiss the Second Amended
                   Complaint (hereafter, “Joint Motion to Dismiss”) [D.E. 227].

    See Report and Recommendation [D.E. 286].       Therein, the undersigned recommended that

    Habanos’ Motion to Dismiss be granted for improper venue pursuant to Federal Rule of Civil

    Procedure 12(b)(3); that this action be dismissed without prejudice to Plaintiffs Luis Manuel
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    Rodriguez, Maria Teresa Rodriguez, Alfredo Ramon Forns, Ramon Alberto Rodriguez, Raul

    Lorenzo Rodriguez, Christina Conroy, and Francisco Ramon Rodriguez (together, “Plaintiffs”)

    refiling their action in a proper venue; and that Imperial’s Motion to Dismiss, WPP Defendants’

    Motion to Dismiss, and the Joint Motion to Dismiss be denied without prejudice as moot. Id.

           On March 31, 2023, the Court affirmed and adopted in part the Report and

    Recommendation and granted Habanos’ Motion to Dismiss.              See Order on Report and

    Recommendation [D.E. 307 at 5]. However, the Court remanded the case to the undersigned “for

    further proceedings and a report and recommendation as to whether Defendant Imperial and the

    WPP Defendants waived the defense of improper venue”; and to “address other issues if

    warranted.” Id. at 5–6. Based on this directive, the undersigned permitted Imperial and the WPP

    Defendants (together, “Defendants”) to brief the issue of whether they had waived the defense of

    improper venue, as well as proffer any arguments for dismissal that they wished to assert. See

    Order [D.E. 316].

           On May 19, 2023, in compliance with the undersigned’s instructions: the WPP Defendants

    filed a Post-Remand Brief in Support of their Motion to Dismiss (hereafter, “WPP Defendants’

    Post-Remand Brief”) [D.E. 318]; Imperial filed a Supplemental Brief in Support of its Motion to

    Dismiss (hereafter, “Imperial’s Post-Remand Brief”) [D.E. 319]; and Defendants filed a

    Supplemental Brief in Further Support of the Joint Motion to Dismiss (hereafter, “Joint Post-

    Remand Brief”) [D.E. 320] (collectively, “Defendants’ Post-Remand Briefs”), arguing as follows:

                 Defendants did not waive the defense of improper venue and the undersigned’s
                  Report and Recommendation correctly recommended dismissal of the entire action
                  without prejudice to refiling in a proper venue;

                 The WPP Defendants’ alleged jurisdictional contacts cannot be imputed to Imperial
                  and, in any event, the Second Amended Complaint fails to sufficiently allege that
                  this Court has personal jurisdiction over the WPP Defendants and Imperial under
                  the Florida long-arm statute and Federal Rule of Civil Procedure 4(k)(2) (hereafter,

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                    “Rule 4(k)(2)”), thereby requiring dismissal pursuant to Federal Rule of Civil
                    Procedure 12(b)(2) (hereafter, “Rule 12(b)(2)”); and

                   The Second Amended Complaint fails to state a claim under Title III of the Helms-
                    Burton Act, 22 U.S.C. §§ 6081–6085 (hereafter, “Title III”), thereby requiring
                    dismissal pursuant to Federal Rule of Civil Procedure 12(b)(6) (hereafter, “Rule
                    12(b)(6)”).

    See Defendants’ Post-Remand Briefs [D.E. 318–20]. 1

            On July 22, 2023, Plaintiffs filed their Responses to Defendants’ Post-Remand Briefs

    (hereafter, “Post-Remand Response Briefs”) [D.E. 328–30]. On August 11, 2023, Imperial filed

    its Supplemental Reply Brief (hereafter, “Imperial’s Reply Brief”) [D.E. 333]; Defendants filed

    their Supplemental Reply Brief (hereafter, “Joint Reply Brief”) [D.E. 334]; and the WPP

    Defendants filed their Reply in Support of their Post-Remand Brief (hereafter, “WPP Defendants’

    Reply Brief”) [D.E. 335] (together, “Post-Remand Reply Briefs”). On September 28, 2023, the

    undersigned held a Post-Remand Hearing [D.E. 340]. On October 18, 2023, Plaintiffs filed a

    Notice of Supplemental Authority [D.E. 342]; and on October 23, 2023, Defendants responded to

    Plaintiffs’ Notice of Supplemental Authority [D.E. 343–44].

            As more fully discussed below, the undersigned concludes that Defendants did waive the

    defense of improper venue. Moreover, upon consideration of the Post-Remand Briefs, Post-

    Remand Response Briefs, and Post-Remand Reply Briefs, as well as the parties’ arguments at the

    Post-Remand Hearing, the undersigned: vacates her prior recommendations that this action be

    dismissed without prejudice to Plaintiffs refiling their action in a proper venue and that Imperial’s

    Motion to Dismiss, WPP Defendants’ Motion to Dismiss, and the Joint Motion to Dismiss be

    denied without prejudice as moot; and respectfully recommends that Imperial’s Motion to Dismiss



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     The undersigned continues to hold in abeyance and does not discuss herein the argument challenging the
    constitutionality of Title III set forth in Imperial’s Motion to Dismiss. See Imperial’s Motion to Dismiss
    [D.E. 226]; Supplemental Statement of Interest [D.E. 271]; Paperless Order [D.E. 272].
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    be GRANTED IN PART for lack of personal jurisdiction, WPP Defendants’ Motion to Dismiss

    be GRANTED IN PART for lack of personal jurisdiction, and the Joint Motion to Dismiss be

    GRANTED IN PART for failure to state a claim.

                   SUMMARY OF DEFENDANTS’ ARGUMENTS ON REMAND

            As noted above, Defendants initially argue that they did not waive the defense of improper

    venue and that the Report and Recommendation correctly recommended dismissal of the entire

    action without prejudice to refiling in a proper venue. The undersigned finds this contention to be

    erroneous. Defendants further argue that the Second Amended Complaint should be dismissed for

    lack of personal jurisdiction and failure to state a Title III claim. The undersigned finds merit in

    some of these arguments.

                          WAIVER OF DEFENSE OF IMPROPER VENUE

           In its Motion to Dismiss the Second Amended Complaint, Habanos argued that venue as

    to Habanos was improper in this district under 28 U.S.C. § 1391(f). See Habanos’ Motion to

    Dismiss [D.E. 225 at 14]. Habanos explained that 28 U.S.C. § 1391(f) governed venue as to

    Habanos because Plaintiffs had alleged that Habanos was an “agency or instrumentality of the

    Cuban government” under the Foreign Sovereign Immunities Act (“FSIA”) and that 28 U.S.C. §

    1391(f) “controls venue in every case where a foreign state is named as a defendant.” Id. (internal

    quotation marks and citations omitted). Habanos further argued that Plaintiffs had failed to allege

    that “a substantial part of the events or omissions giving rise to the claim occurred” in this district

    as required by 28 U.S.C. § 1391(f)(1) (hereafter, “Section 1391(f)(1)”).               Id. at 14–18.

    Alternatively, Habanos argued that, if it was not deemed an agency or instrumentality of Cuba and

    the FSIA did not apply, venue was likewise improper under the similar standard set forth in 28

    U.S.C. § 1391(b)(2) (hereafter, “Section 1391(b)(2)”), pursuant to which Plaintiffs had alleged



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    that venue in this district was proper as to all the defendants. Id.

           In the prior Report and Recommendation, the undersigned found that “the allegations in

    the Second Amended Complaint ‘reveal[] that no events giving rise to the claim[] occurred in this

    District and, as a consequence, venue does not properly lie’ here under Section 1391(f)(1) or

    Section 1391(b)(2).” See Report and Recommendation [D.E. 286 at 9] (alterations in original)

    (citations omitted). The undersigned also found that:

           Although the other [d]efendants did not move to dismiss for improper venue,
           Habanos’ venue argument is dispositive as to all [the defendants] . . . . See, e.g.,
           Habanos’ Motion to Dismiss [D.E. 225 at 15–18] (discussing impropriety of venue
           in the Southern District of Florida as to all [d]efendants). The parties also had an
           opportunity at the [hearing on the Motions to Dismiss, see Paperless Minute Entry
           [D.E. 273],] to present their arguments about venue in this district and their
           respective positions on transferring or dismissing the case. See, e.g., Corrected
           Hearing Tr. [D.E. 285 at 10:25–17:21, 49:7–50:16, 92:5–93:8, 110:11–19, 144:4–
           146:20]. Thus, the Court may also consider dismissal of this case sua sponte for
           lack of venue as to the non-moving [d]efendants. See Algodonera De Las Cabezas,
           S.A. v. Am. Suisse Cap., Inc., 432 F.3d 1343, 1345 (11th Cir. 2005) (“[W]hile a
           district court may dismiss a suit sua sponte for lack of venue, it may not do so
           ‘without first giving the parties an opportunity to present their views on the issue.’”)
           (quoting Lipofsky v. N.Y. State Workers Comp. Bd., 861 F.2d 1257, 1259 (11th
           Cir. 1988)).

    Id. at 6 n.3. Ultimately, the undersigned declined to recommend a transfer of the action to “another

    district where venue in that district is not affirmatively established in the [Second Amended]

    Complaint.” Id. at 10 (alteration in original) (internal quotation marks and citation omitted).

    Therefore, the undersigned recommended that the entire action be dismissed without prejudice to

    Plaintiffs refiling the case in a proper venue. Id. at 11.

           In its Order on Report and Recommendation [D.E. 307], the Court adopted the

    undersigned’s finding that venue was improper as to Habanos and granted Habanos’ Motion to

    Dismiss [D.E. 225]. See Order on Report and Recommendation [D.E. 307 at 5]. However, the

    Court noted that the Report and Recommendation “[did] not specifically address whether Imperial



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    and the WPP Defendants waived the improper venue issue by failing to raise it in their initial

    motions to dismiss.” Id. The Court further noted that, although it “may consider dismissal of this

    case sua sponte for lack of venue as to [Imperial and] the WPP Defendants as long as the parties

    are given an opportunity to present their views on the issue . . . the Eleventh Circuit Court of

    Appeals [has] held that a district court may dismiss a suit sua sponte for lack of venue only ‘in the

    absence of a waiver.’” Id. (citing Algodonera, 432 F.3d at 1345; Lipofsky, 861 F.2d at 1259). As

    a result, the Court remanded the matter to the undersigned for “an opportunity to consider whether

    Imperial and the WPP Defendants have waived the improper venue issue.” Id.

            In their Joint Post-Remand Brief, Defendants contend that the Report and

    Recommendation correctly recommended dismissal of the entire action for improper venue

    because “the Court did not raise venue sua sponte, the parties presented their views on the issue,

    and the venue defense was not waived.” See Joint Post-Remand Brief [D.E. 320 at 8–9]. At the

    Post-Remand Hearing, Imperial argued that “the [C]ourt did not raise venue sua sponte[,] Habanos

    did[,] [a]nd the parties had the opportunity to advocate their positions”, stating:

            [Defendants] opposed transfer and advocated for dismissal. . . . Of course, the
            [P]laintiffs too had the opportunity to argue what disposition should flow from
            success on Habanos’ unique [FSIA] venue argument. They asked, of course, that
            the case remain in Florida, but their request was that if that didn’t work, then the
            entire case be transferred somewhere else. So a unitary disposition is what the
            [P]laintiffs requested. . . . What the Eleventh Circuit [has] said is [that] . . . you have
            to allow the parties time to advocate. Perhaps the defendant wants to accept venue
            in an improper venue; perhaps the plaintiff wants to argue about why venue was
            improper. That was all permitted here. So we are not even within the scope and
            coverage of this waiver rule that [Plaintiffs] are invoking.

    See Post-Remand Hearing Tr. [D.E. 341 at 11:14–12:15]. 2 Defendants also argue that they “could


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      With regard to the unitary disposition argument, Imperial further contends that, although Plaintiffs had
    alluded to a possible severance of Habanos should the Court find that venue as to Habanos was improper
    in this district, see Response to Habanos’ Motion to Dismiss [D.E. 263 at 6], Plaintiffs’ Amended
    Objections to Report and Recommendation [D.E. 294 at 4], Plaintiffs never formally moved the Court for


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    not have asserted the Habanos-specific FSIA venue defense” and, as such, could not “have waived

    a defense that was never theirs to assert.” See Joint Post-Remand Brief [D.E. 320 at 11]; Joint

    Reply Brief [D.E. 334 at 6]; see also Post-Remand Hearing Tr. [D.E. 341 at 14:14–18] (“Imperial

    and [the WPP Defendants] did not have [an FSIA] venue defense to make; therefore, they had no

    such defense; therefore, they cannot possibly have waived it because they couldn’t have made it

    in the first place.”).

            Plaintiffs countered at the Post-Remand Hearing that discussing the matter of venue sua

    sponte at a hearing does not provide sufficient notice to the parties. See Post-Remand Hearing Tr.

    [D.E. 341 at 20:14–22] (referencing McIntosh v. Royal Caribbean Cruises, Ltd., 5 F.4th 1309,

    1312 (11th Cir. 2021)) (“Of course, before acting on its own initiative, a court must accord the

    parties fair notice and an opportunity to present their positions.”) (quoting Day v. McDonough,

    547 U.S. 198, 210 (2006)). More importantly, Plaintiffs correctly argue that “[f]ailure to raise the

    issue of improper venue in an initial motion to dismiss waives such defense.” See Post-Remand

    Response Brief [D.E. 330 at 1] (citing Aero Techs., LLC v. Lockton Cos. Intern. Ltd., 406 F.

    App’x 440, 441 (11th Cir. 2010)) (“Federal Rule of Civil Procedure 12(h)(1) states that some Rule

    12 defenses are waived by failing to raise them in the initial Rule 12 motion, including improper

    venue[.]”). Plaintiffs note that Defendants did not raise the defense of improper venue in their

    respective Motions to Dismiss the Second Amended Complaint or in their earlier motions to

    dismiss the Complaint [D.E. 1] and First Amended Complaint [D.E. 82]. See Post-Remand

    Response Brief [D.E. 330 at 1] (referencing the prior Motions to Dismiss [D.E. 71–72, 74, 88, 91,

    94]). Indeed, Defendants limited their initial dismissal arguments to, in relevant part, lack of


    a severance pursuant to Federal Rule of Civil Procedure 21. See Joint Post-Remand Brief [D.E. 320 at 10].
    However, the undersigned need not consider the issue of severance at this juncture, given that the Court has
    already dismissed Habanos for improper venue, see Order on Report and Recommendation [D.E. 307 at 5],
    and the undersigned is recommending dismissal of Defendants.
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    personal jurisdiction, lack of standing, and failure to state a claim. See Motions to Dismiss the

    Complaint [D.E. 71–72, 74]. 3 Thus, Plaintiffs posit that “only Habanos was dismissed for lack of

    venue, and the remaining defendants do not get dismissed for lack of venue because they did not

    plead it” and, therefore, waived the defense. See Post-Remand Hearing Tr. [D.E. 341 at 24:24–

    25:2].

             Given that Defendants did not assert the defense that venue in this district was improper in

    their initial, much less any of their Motions to Dismiss, the undersigned concludes that Defendants

    did waive the defense of improper venue. See Aero Techs., 406 F. App’x at 441 (“Our circuit has

    never recognized extraordinary circumstances as grounds for overlooking a defendant’s waiver of

    venue and we decline to do so here.”). In light of that waiver, dismissal of the action with respect

    to Defendants was improper. See Order on Report and Recommendation [D.E. 307 at 5].

    Therefore, the undersigned vacates her prior recommendations that this action be dismissed

    without prejudice to Plaintiffs refiling their action in a proper venue; and that Imperial’s Motion

    to Dismiss, WPP Defendants’ Motion to Dismiss, and the Joint Motion to Dismiss be denied

    without prejudice as moot.

             In accordance with the Court’s directive to “address other issues if warranted”, id. at 6, the

    undersigned proceeds to consider Defendants’ arguments regarding lack of personal jurisdiction

    and failure to state a claim.

                                       PERSONAL JURISDICTION

             The WPP Defendants argue that this Court cannot exercise personal jurisdiction over them

    under Florida’s long-arm statute or Rule 4(k)(2). See WPP Defendants’ Post-Remand Brief [D.E.

    318 at 7–13]. Moreover, Imperial argues that “Plaintiffs have pleaded no basis to impute [] the


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     In contrast, Habanos raised its improper venue defense in its initial motion to dismiss the First Amended
    Complaint [D.E. 89] as well as in its Motion to Dismiss the Second Amended Complaint [D.E. 225].
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   WPP Defendants’ alleged jurisdictional contacts to Imperial.” See Imperial’s Post-Remand Brief

   [D.E. 319 at 7–8]. Imperial further argues that, even if the WPP Defendants’ alleged jurisdictional

   contacts are imputed to Imperial, they are likewise insufficient under the Florida long-arm statute

   and Rule 4(k)(2); and that it would be constitutionally unreasonable to exercise personal

   jurisdiction over Imperial. Id. at 9–14.

          At the Post-Remand Hearing, Plaintiffs abandoned their theory of specific personal

   jurisdiction under the Florida long-arm statute as to all Defendants. See Post-Remand Hearing Tr.

   [D.E. 341 at 6:11–14, 156:4–6]. Plaintiffs also abandoned their argument that Y&R and BCW are

   subject to personal jurisdiction under Rule 4(k)(2). Id. at 158:3–5. Therefore, the undersigned

   limits the current jurisdictional analysis to whether the Second Amended Complaint sufficiently

   alleges personal jurisdiction over WPP and Imperial pursuant to Rule 4(k)(2).

          1.      Applicable law

          For a claim arising under federal law, a party may seek to establish personal jurisdiction

   pursuant to Rule 4(k)(2) if “the defendant is not subject to jurisdiction in any state’s courts of

   general jurisdiction” and “exercising jurisdiction is consistent with the United States Constitution

   and laws.” See Fed. R. Civ. P. 4(k)(2)(A)–(B). “[W]hen, as here, a federal statute provides the

   basis for jurisdiction, the constitutional limits of due process derive from the Fifth, rather than the

   Fourteenth, Amendment.” S.E.C. v. Marin, 982 F.3d 1341, 1349 (11th Cir. 2020) (internal

   quotation marks omitted) (quoting Republic of Panama v. BCCI Holdings (Luxembourg) S.A.,

   119 F.3d 935, 942 (11th Cir. 1997)). “[T]he personal-jurisdiction analysis under the Fifth

   Amendment is the same as that under the Fourteenth”, except the applicable forum is the United

   States. Herederos De Roberto Gomez Cabrera, LLC v. Teck Res. Ltd., 43 F.4th 1303, 1308 (11th

   Cir. 2022) (evaluating personal jurisdiction under Rule 4(k)(2) in Helms-Burton Act case). As



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   such, “[t]he exercise of personal jurisdiction comports with due process when (1) the nonresident

   defendant has purposefully established minimum contacts with the [United States] and (2) the

   exercise of jurisdiction will not offend traditional notions of fair play and substantial justice.”

   Marin, 982 F.3d at 1349 (internal quotation marks omitted) (quoting U.S. S.E.C. v. Carrillo, 115

   F.3d 1540, 1542 (11th Cir. 1997)).

           To establish sufficient minimum contacts with the United States, the defendant’s contacts

   must satisfy three criteria:

           First, the contacts must be related to the plaintiff’s cause of action or have given
           rise to it. Second, the contacts must involve some act by which the defendant
           purposefully avails itself of the privilege of conducting activities within the forum
           . . . , thus invoking the benefits and protections of its laws. Third, the defendant’s
           contacts with the forum must be such that [the defendant] should reasonably
           anticipate being haled into court there.

   See Carrillo, 115 F.3d at 1542 (citing Vermeulen v. Renault, U.S.A., Inc., 985 F.2d 1534, 1546

   (11th Cir. 1993)). Moreover, where the defendant is alleged to have committed an intentional tort

   specifically aimed at a plaintiff who was injured in the forum, due process may also be satisfied

   under the “effects test” established by the Supreme Court in Calder v. Jones, 465 U.S. 783, 789–

   90 (1984), which provides that jurisdiction over a defendant is proper when the “effects” of its out-

   of-state conduct—in this case, the intentional tort of trafficking—are felt in the forum. See, e.g.,

   Garcia v. Gravity Interactive, Inc., No. 10-62162-Civ, 2012 WL 13005342, at *6–*7 (S.D. Fla.

   Jan. 17, 2012) (applying Calder “effects” test to assess Rule 4(k)(2) jurisdiction).

           2.      Rule 4(k)(2) personal jurisdiction over Defendants

           As to the initial requirement for triggering the application of Rule 4(k)(2), WPP argues that

   the “[Second Amended Complaint] itself defeats Rule 4(k)(2) jurisdiction by pleading that ‘WPP

   . . . maintains a principal place of business in New York.’” See WPP Defendants’ Post-Remand

   Brief [D.E. 318 at 13] (emphasis in original) (quoting Sec. Am. Compl. [D.E. 208 ¶ 36]). However,

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   notwithstanding Plaintiffs’ allegation in the Second Amended Complaint, WPP contends that it is

   not subject to general jurisdiction in New York. See Post-Remand Hearing Tr. [D.E. 341 at

   167:11–12] (“So WPP, we are not conceding general jurisdiction in New York.”). Indeed, WPP

   has consistently taken issue with Plaintiffs’ allegation that it maintains a principal place of business

   in New York. See WPP Defendants’ Motion to Dismiss [D.E. 229 at 20 n.8] (“[The] WPP

   Defendants do not agree with this assertion[.]”); see also Joint Motion to Dismiss [D.E. 227 at 13]

   (“WPP [is] a company incorporated in the Bailiwick of Jersey and with its principal place of

   business in London[.]”). Moreover, the parties concede that WPP and Imperial are not subject to

   general jurisdiction in Florida. See WPP Defendants’ Reply in Support of Motion to Dismiss [D.E.

   266 at 6] (“WPP Defendants established that the exercise of general . . . jurisdiction in Florida is

   improper over each of the WPP Defendants—all of which are headquartered and incorporated

   outside of Florida. Plaintiffs fail to respond substantively to much of WPP Defendants’ personal

   jurisdiction argument.”); Imperial’s Post-Remand Brief [D.E. 319 at 5] (“Plaintiffs rightly have

   never argued that Imperial, a foreign-incorporated, foreign-headquartered corporation, is subject

   to general personal jurisdiction in this forum.”). Therefore, given that the parties do not identify a

   state where WPP and Imperial are amenable to general jurisdiction, the first requirement for

   application of Rule 4(k)(2) to Defendants is satisfied. See Fed. R. Civ. P. 4(k)(2)(A) (requiring

   that “the defendant is not subject to jurisdiction in any state’s courts of general jurisdiction”). 4


   4
     At the Post-Remand Hearing, Plaintiffs indicated that if “WPP [were to] pivot[] and argue[] . . . that []
   jurisdiction for WPP is appropriate in New York and the court accepts that argument . . . then [Plaintiffs’]
   position would be that [they] would want the matter [as to the WPP Defendants] transferred to New York.”
   See Post-Remand Hearing Tr. [D.E. 341 at 159:6–16]. Plaintiffs limited this proposition to the WPP
   Defendants. Id. at 159:17–20 (“The Court: So then you don’t know what is going to happen to Imperial,
   but you’re not asking that Imperial be transferred. Counsel: Not at this point.”). However, WPP did not
   pivot its argument along the lines described by Plaintiffs’ counsel. Id. at 160:3–4. In any event, a transfer
   of the action as to the WPP Defendants would be difficult to justify in light of the Court’s prior finding that
   venue in the case is improper in New York. See Report and Recommendation [D.E. 286 at 10] (“Plaintiffs’


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           As to the second element of the Rule 4(k)(2) analysis, Defendants argue that Plaintiffs fail

   to establish that Defendants have “minimum contacts” with the United States to satisfy specific

   personal jurisdiction under Rule 4(k)(2). See WPP Defendants’ Post-Remand Brief [D.E. 318 at

   12]; Imperial’s Post-Remand Brief [D.E. 319 at 9]; see also Fed. R. Civ. P. 4(k)(2)(B) (requiring

   that “jurisdiction is consistent with the United States Constitution and laws”). 5 As set forth in the

   prior Report and Recommendation,

           Plaintiffs allege that [the] [d]efendants have trafficked in Plaintiffs’ property, which
           was confiscated by the Cuban government in 1961, and are therefore liable to them
           under [Title III]. See Sec. Am. Compl. [D.E. 208 ¶¶ 3, 19]. Plaintiffs’ property
           consists of a building known as the Partagás factory and a modern mixed-use
           building adjacent and connected to the Partagás factory (collectively, “the
           Property”). Id. ¶¶ 1–2. Specifically, Plaintiffs allege that Imperial, through
           Habanos, other joint-venture entities, and Non-party Tabacuba, has used and
           continues to use the Property without compensation to or authorization from
           Plaintiffs. Id. ¶¶ 17–18. These alleged uses include the production and shipment of
           millions of hand-rolled cigars manufactured and/or processed at the Property and
           their marketing through online portals on the U.S.-based social media platforms
           Twitter, YouTube, and Instagram. Id. ¶¶ 17–18, 22–23. . . .

   See Report and Recommendation [D.E. 286 at 2–3]. To that end, Plaintiffs claim that “WPP

   through the WPP Group that it controls, including BCW and Y&R[,] used US Services, including

   Internet, email, and other networking and telecom services, the YR.com, BM.com, and

   Ogilvy.com Internet domains, and U.S. social media portals for the [] marketing, advertising, and

   promotion of Cuban tobacco products and the Habanos brand name.” See Post-Remand Response

   Brief [D.E. 328 at 6] (citing Sec. Am. Compl. [D.E. 208 ¶¶ 54–56, 61]). Plaintiffs contend that

   this conduct relates or gives rise to their Title III claim because “[WPP’s] trafficking [] was


   Second Amended Complaint is devoid of allegations affirmatively establishing that venue would be proper
   in New York.”).
   5
     In a footnote, WPP argues that this Court also lacks general personal jurisdiction over Defendants under
   Rule 4(k)(2). See WPP Defendants’ Post-Remand Brief [D.E. 318 at 12 n.2]. However, Plaintiffs appear
   to have abandoned this theory of personal jurisdiction. See generally Post-Remand Response Brief [D.E.
   328]. Accordingly, the undersigned limits the Rule 4(k)(2) analysis to assessing whether Plaintiffs have
   sufficiently alleged specific personal jurisdiction over Defendants under Rule 4(k)(2).
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   complete when WPP’s US Services were used to transmit advertising and promotional materials .

   . . by routing all such communications [through servers in] the United States.” Id. at 16. 6 Plaintiffs

   further argue that WPP purposefully availed itself of conducting activities within the United States

   by directing its alleged promotional conduct into the United States; and thereby caused harm to

   Plaintiffs in the United States. Id. at 16–17. As for Imperial, Plaintiffs assert that “[j]urisdiction

   over Imperial is based on the trafficking of Plaintiffs’ confiscated Property completed in the United

   States by [WPP].” See Post-Remand Response Brief [D.E. 329 at 1]. Thus, personal jurisdiction

   over Imperial hinges entirely on personal jurisdiction over WPP. See Post-Remand Hearing Tr.

   [D.E. 341 at 212:9–12] (“The Court: So you are piggybacking on WPP for your personal

   jurisdiction allegation as to Imperial; is that accurate? Counsel: Yes.”).            In turn, personal

   jurisdiction over WPP entirely hinges on the websites that advertise Habanos’ products. Id. at

   193:11–13 (“Here, [WPP’s] trafficking was based upon the conduct, the activity through the

   internet, through U.S. servers, through U.S. domain names, through U.S. social media

   companies.”).

           At the Post-Remand Hearing, WPP emphasized that “[t]he websites at issue were generally

   accessible, not just accessible in the U.S. or targeted at the U.S.” and that “[t]he websites did not

   allow for purchase of the product . . . anywhere [] in the United States [because] [i]t is illegal to

   do so”, thereby “demonstrat[ing] the absence of . . . targeting at the U.S.” Id. at 166:7–167:2. 7


   6
     As to this criterion for minimum contacts, WPP asserts that its Spanish subsidiaries created the web
   content at issue in this case, thereby eliminating any connection between Plaintiffs’ cause of action and
   WPP’s contacts. See WPP Defendants’ Post-Remand Brief [D.E. 318 at 8]. WPP further argues that the
   alleged conduct of its Spanish subsidiaries cannot be imputed to WPP under an alter ego theory. Id. at 13.
   At the Post-Remand Hearing, Plaintiffs clarified that “[they] are not concerned about the Spanish entity.
   [They] are concerned about the conduct of WPP.” See Post-Remand Hearing Tr. [D.E. 341 at 199:11–13].
   Therefore, the undersigned limits her analysis to WPP’s activities.
   7
     WPP explains that “it is illegal to buy Cuban tobacco products in (or commercially ship them to) Florida
   or anywhere in the U.S.” See WPP Defendants’ Post-Remand Brief [D.E. 318 at 10] (citing U.S. Office of


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   The Eleventh Circuit has found that “the mere existence of a website that is visible in a forum and

   that gives information about a company and its products is not enough, by itself, to subject a

   defendant to personal jurisdiction in that forum.” Fraser v. Smith, 594 F.3d 842, 847 (11th Cir.

   2010) (internal quotation marks and citations omitted); see also Frida Kahlo Corp. v. Pinedo, No.

   18-21826-Civ, 2021 WL 4147876, at *5 (S.D. Fla. Sept. 13, 2021) (“Courts across jurisdictions

   have held that activity on the Internet, by itself, is not a sufficient minimum contact to establish

   ‘purposeful availment’ under the Due Process Clause.”); Michael Grecco Prods., Inc. v.

   Imageselect B.V., No. 21-21999-CIV, 2022 WL 18779105, at *6 (S.D. Fla. Sept. 27, 2022)

   (“Plaintiff completely neglects to address [the] holding [in Frida Kahlo] that the existence of a

   website, on its own, is insufficient to show that a nonresident ‘purposefully availed’ itself to the

   forum[.]”).

           Plaintiffs’ arguments are further weakened by their failure to allege that WPP undertook

   additional steps to “show that [the alleged] online activity [was] ‘aimed’ at” the United States for

   purposes of satisfying the Calder “effects” test. See Frida Kahlo, 2021 WL 4147876, at *5. As in

   Frida Kahlo, the social media platforms on which Habanos’ products are alleged to be advertised,

   see Sec. Am. Compl. [D.E. 208 ¶¶ 22 n.11], do not reference the United States; and Plaintiffs do

   not allege that the advertised products have ever been sold in the United States. See Frida Kahlo,

   2021 WL 4147876, at *5; cf. Del Valle v. Trivago GMBH, 56 F.4th 1265, 1276–77 (11th Cir.

   2022) (holding that both minimum contacts and “effects” test were satisfied by the defendants’

   promotion of their websites via banner ads, follow-up emails directed at Florida residents, and

   efforts to maximize performance on search engine results pages; and that the defendants financially

   benefited from Florida residents’ bookings and web traffic).


   Foreign       Assets    Control,      Cuba    Sanctions   FAQ    (questions    731     and     769),
   https://ofac.treasury.gov/faqs/topic/1541).
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          Given that the Second Amended Complaint fails to sufficiently allege minimum contacts

   as well as that the “effects” of WPP’s conduct were felt in the United States, Plaintiffs have failed

   to establish that this Court has personal jurisdiction over WPP under Rule 4(k)(2). See Frida

   Kahlo, 2021 WL 4147876, at *5. Moreover, such failure extends to Imperial, given Plaintiffs’

   imputation theory. Accordingly, the undersigned recommends that Imperial’s Motion to Dismiss

   and the WPP Defendants’ Motion to Dismiss be granted for lack of personal jurisdiction.

                                  FAILURE TO STATE A CLAIM

          Defendants also argue that the Second Amended Complaint fails to state a claim because

   “(i) the claim is barred by the statute of repose; (ii) the claim arises entirely from the alleged

   conduct of Cuban companies, which does not constitute trafficking; (iii) the [Second Amended

   Complaint] does not plead that Defendants acted knowingly and intentionally; and (iv) Plaintiffs

   fail to plead the ownership element of a Title III claim.” See Joint Post-Remand Brief [D.E. 320

   at 12]. The undersigned addresses each of these arguments below.

          1.      The Helms-Burton Act and the failure to state a claim standard

          Title III of the Helms-Burton Act provides, in relevant part, as follows:

          [A]ny person that, after the end of the 3-month period beginning on the effective
          date of this subchapter, traffics in property which was confiscated by the Cuban
          Government on or after January 1, 1959, shall be liable to any United States
          national who owns the claim to such property for money damages [as set forth in
          subsections (i)–(ii).]
                                               ...

          In the case of property confiscated before March 12, 1996, a United States national
          may not bring an action under this section on a claim to the confiscated property
          unless such national acquires ownership of the claim before March 12, 1996.

   22 U.S.C. § 6082(a)(1)(A), (4)(B). Under Title III, “a person ‘traffics’ in confiscated property if

   that person knowingly and intentionally—(i) . . . uses . . . [the] confiscated property, (ii) engages

   in a commercial activity using or otherwise benefiting from [the] confiscated property, or (iii)

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   causes, directs, participates in, or profits from, trafficking . . . by another person, or otherwise

   engages in trafficking . . . through another person, without the authorization of any United States

   national who holds a claim to the property.” Id. § 6023(13)(A).

          “To survive a motion to dismiss brought pursuant to [Rule 12(b)(6)], a claim must contain

   sufficient factual matter, accepted as true, to state a claim to relief that is plausible on its face,

   meaning that it must contain factual content that allows the court to draw the reasonable inference

   that the defendant is liable for the misconduct alleged.” Alexander v. Medley, No. 21-cv-24386,

   2022 WL 1102856, at *2 (S.D. Fla. Apr. 12, 2022) (quotation marks omitted) (citing Ashcroft v.

   Iqbal, 556 U.S. 662, 678 (2009); Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). “The

   Court must accept the plaintiff’s allegations as true and construe them in the light most favorable

   to the [p]laintiff”; however, “a Court need not take allegations as true if they are merely ‘threadbare

   recitals of a cause of action’s elements, supported by mere conclusory statements.’” VSI Sales,

   LLC v. DiSimone, No. 20-61119-CIV, 2021 WL 8972144, at *2 (S.D. Fla. Apr. 13, 2021)

   (citations omitted).

          2.      Time bar

          Defendants first assert the affirmative defense that Plaintiffs’ claim is time-barred under

   the two-year repose period that bars Title III claims brought “more than 2 years after the trafficking

   giving rise to the action has ceased to occur.” See Joint Post-Remand Brief [D.E. 320 at 12]

   (internal quotation marks omitted) (quoting 22 U.S.C. § 6084). The Eleventh Circuit “commands

   that Rule 12(b)(6) dismissal on time limitations grounds is appropriate only if it is apparent from

   the face of the complaint that the claim is time-barred.” Havana Docks Corp. v. Carnival Corp.,

   No. 19-cv-21724, 2020 WL 5517590, at *12 (S.D. Fla. Sept. 14, 2020) (quotation marks and

   citation omitted).



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           Because Plaintiffs brought his action in 2020, the two-year Title III repose period extends

   only to 2018. In their pleading, Plaintiffs set forth the following purported timeline of Defendants’

   trafficking:

           The unauthorized use of the [] Property by Imperial and Habanos also extended to
           [Non-party] Tabacuba’s management of the day-to-day business of all or some
           Cuban tobacco products from offices it maintained in the [] Property at all times
           from 2007 until at least October 29, 2020. Both Habanos, and Imperial, through
           its financial interests in Habanos and the other Cuban Joint Ventures, benefitted
           from Tabacuba’s continuous use of the [] Property during the entire time that
           Imperial owned interests in the Cuban Joint Ventures. Imperial also benefitted from
           use of the [] Property for marketing of Habanos’ products.

           . . . Upon information and belief, Tabacuba and Habanos have continuously used
           the [] [P]roperty without authorization from the [Plaintiffs] since at least 2010, and
           likely for many years before that, until the present.

           . . . Imperial and Habanos’ trafficking also includes use of the [] Property for
           marketing and publicity of Habanos’ products.

           Habanos itself documented its possession, control of, management, and use of the
           [] Property. In a February 2010 publicity piece entitled: “Cigar Factory Readings
           and Readers,” Habanos referred to the factory (the [] Property) “Standing on
           famous 23rd Street in Havana’s bustling Vedado neighborhood right between the
           14th and 16th streets,” as the “humongous and modern H. Upmann cigar factory.”
           The continuous use of the [] Property includes the use of a portion of the [] Property
           by Imperial’s joint venture partner, Tabacuba, for its executive offices for the
           management of the Cuban tobacco business, and the use of the loading dock and
           space for warehousing and shipping Habanos’ products. Tabacuba’s name appears
           prominently on the building.

   See Sec. Am. Compl. [D.E. 208 ¶¶ 18, 78–80] (emphasis added). Plaintiffs also reference several

   photographs that purportedly illustrate Habanos’ use of the Property: “Composite Exhibit 6

   containing pictures published by the Habanos website of ‘visit the factories’ tours promoted by

   Habanos at the [] Property” and “Exhibit 7 [which] is a picture of the loading dock at the [] Property

   in operation.” Id. ¶ 79 n.39. However, Plaintiffs have stipulated to the fact that the photographs

   in Composite Exhibit 6 were taken in 2009; and that the photograph in Exhibit 7 was taken no later

   than January 2013. See Post-Remand Hearing Tr. [D.E. 341 at 61:25–62:2, 64:13–15]. Thus,

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   Defendants argue that Habanos’ alleged use of the Property in 2009, 2010, and 2013 is conduct

   that significantly predates the two-year repose period under the Helms-Burton Act; and that

   Plaintiffs cannot impute Non-party Tabacuba’s alleged use of the Property through 2020 to WPP

   or Imperial. See Joint Post-Remand Brief [D.E. 320 at 13–14].

          Plaintiffs counter that Tabacuba’s status as a non-party is irrelevant because “according to

   the definition of the Helms-Burton Act[,] [t]he remaining defendants are trafficking if they are

   profiting or participating in trafficking by another person”, even if that other “person” is a non-

   party. See Post-Remand Hearing Tr. [D.E. 341 at 94:18–21]. However, even if the undersigned

   accepts as true Plaintiffs’ allegations about Tabacuba, the connection between Tabacuba’s alleged

   use of the Property and Defendants is far too attenuated. In fact, the Second Amended Complaint

   is devoid of allegations affirmatively connecting WPP or Imperial to Tabacuba’s use of the

   Property during the relevant actionable period. Rather, Plaintiffs allege in conclusory fashion that

   Imperial has simply “benefitted from” Tabacuba’s conduct; and entirely omit WPP from any

   allegation involving Tabacuba’s use of the Property. See, e.g., Sec. Am. Compl. [D.E. 208 ¶¶ 18,

   80]; see also VSI Sales, 2021 WL 8972144, at *2 (“[A] Court need not take allegations as true if

   they are merely threadbare recitals of a cause of action’s elements, supported by mere conclusory

   statements.”) (quotation marks omitted).

          Given that Plaintiffs do not allege that Habanos’ trafficking occurred past 2013 or how

   WPP and Imperial are implicated by Non-party Tabacuba’s alleged use of the Property in 2020, it

   is apparent from the face of the Second Amended Complaint that Plaintiffs’ claim against

   Defendants is time-barred. Accordingly, the undersigned recommends that Defendants’ Joint

   Motion to Dismiss be granted on this ground.




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          3.      “Trafficking”

          Next, Defendants argue that “Habanos[’] and Tabacuba’s conduct does not qualify as

   trafficking”, hence, “neither does Imperial’s or WPP’s alleged participation in or profiting from

   that conduct.” See Joint Post-Remand Brief [D.E. 320 at 15]. Defendants rely on 22 U.S.C. §

   6023(13)(B)(iv), which provides that “trafficking” does not include “transactions and uses of

   property by a person who is both a citizen of Cuba and a resident of Cuba, and who is not an

   official of the Cuban Government or the ruling political party in Cuba.” Defendants then seize on

   the Helms-Burton Act’s definition of a “person” as “any person or entity, including any agency or

   instrumentality of a foreign state”, see id. § 6023(11), to argue that Habanos and Tabacuba, as

   agencies or instrumentalities of a foreign state, namely, Cuba, are exempt from the definition of

   “trafficking.” See Joint Post-Remand Brief [D.E. 320 at 15]. However, Congress did not include

   agencies or instrumentalities of Cuba in the definition of “agency or instrumentality of a foreign

   state” for purposes of the Helms-Burton Act, see id. § 6023(1), and per the canon of statutory

   construction, this Court may not add words to a statute. See De Fernandez v. CMA CGM S.A.,

   21-CV-22778, 2023 WL 4014730, at *14 (S.D. Fla. Apr. 30, 2023), report and recommendation

   adopted, 2023 WL 4633553 (S.D. Fla. Jul. 20, 2023) (citing Friends of Everglades v. S. Fla. Water

   Mgmt. Dist., 570 F.3d 1210, 1224 (11th Cir. 2009)). Therefore, under a plain reading of the statute,

   Habanos and Tabacuba, as agencies or instrumentalities of Cuba, cannot be said to fall within the

   category of “persons” that are exempt from the definition of “trafficking” under the Helms-Burton

   Act. Moreover, as noted by Plaintiffs at the Post-Remand Hearing, exempting agencies or

   instrumentalities of Cuba would “eviscerate the actual intent of the [Helms-Burton] Act.” See

   Post-Remand Hearing Tr. [D.E. 341 at 110:2–14]; see also Post-Remand Response Brief [D.E.

   330 at 6] (citing Havana Club Holding, S.A. v. Galleon S.A., 203 F.3d 116, 125 (2d Cir. 2000))



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   (“Congress intended to create a chilling effect that will deny the current Cuban regime venture

   capital [and] discourage third-country nationals from seeking to profit from illegally confiscated

   property[.]”) (quotation marks and citations omitted). Accordingly, the undersigned recommends

   that Defendants’ Joint Motion to Dismiss not be granted on the basis that Habanos and Tabacuba

   are exempted from the definition of “trafficking.”

           WPP also individually argues that Plaintiffs have failed to allege that it “trafficked” in the

   Property because WPP “did not profit from or do anything with the [Property].” See WPP

   Defendants’ Post-Remand Brief [D.E. 318 at 13]. As noted above, to state a Title III claim, a

   plaintiff must allege that “a person ‘traffics’ in confiscated property [by] knowingly and

   intentionally—(i) . . . us[ing] . . . [the] confiscated property, (ii) engag[ing] in a commercial activity

   using or otherwise benefiting from [the] confiscated property, or (iii) caus[ing], direct[ing],

   participat[ing] in, or profit[ing] from, trafficking . . . by another person[.]”           22 U.S.C. §

   6023(13)(A). With respect to WPP, Plaintiffs allege, in relevant part, that WPP, “by assisting

   Imperial, Habanos, and Tabacuba in marketing and publicizing the Habanos[] products

   manufactured, stored at or shipped from the [] Property, including through extensive use of US

   Services, [] causes, directs, participates in, or profits from, or otherwise engages in, trafficking in

   the [] Property by Imperial, Habanos, and Cuba”. See Sec. Am. Compl. [D.E. 208 ¶ 96]. Based

   on these allegations, the undersigned finds that the Second Amended Complaint plausibly alleges

   trafficking by WPP. See de Fernandez v. Crowley Holdings, Inc., 593 F. Supp. 3d 1162, 1171

   (S.D. Fla. Mar. 23, 2022) (“[T]he Court finds that Plaintiffs have sufficiently alleged a violation

   of the Act.”). Therefore, the undersigned recommends that the WPP Defendants’ Motion to

   Dismiss not be granted on the basis that Plaintiffs have failed to allege that WPP “trafficked” in

   the Property.



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          4.      “Knowingly and intentionally”

          Defendants further argue that Plaintiffs fail to plausibly allege that either WPP or Imperial

   “knowingly and intentionally trafficked in the confiscated [P]roperty without the authorization of

   a U.S. national who holds a claim to the [P]roperty.” See Joint Post-Remand Brief [D.E. 320 at

   16] (citing 22 U.S.C. § 6023(13)). In response, Plaintiffs contend that they have pled “that

   information about the confiscated Property was available to Defendants in corporate . . . records”

   and that they placed Defendants on notice of the same via their March 31, 2020, pre-suit demand

   letter, including the following July 5, 1961, announcement in Cuba’s Official Gazette:

          First: The Nationalization, by means of forced expropriation, is decreed, and
          consequently the Cuban State, in complete authority, is awarded all the interest in
          assets and business entities located in the national territory and the rights and
          actions arising from the exploitation of the same, whatever the interest, title or mode
          of their ownership, of the following natural persons or judicial entities:
                                               ....

          96. Ramón Rodriguez e Hijos, S. en C.

   See Post-Remand Response Brief [D.E. 330 at 9–10] (citing Sec. Am. Compl. [D.E. 208 at Ex.

   5A]). Plaintiffs further posit that “[t]here is no requirement in the statute that the trafficker

   knowingly acts ‘without the authorization of any United States national who holds a claim to the

   property.’” Id. at 11.

          Notwithstanding the reference to “Ramón Rodriguez e Hijos, S. en C.” in Cuba’s Official

   Gazette, Plaintiffs fail to allege that Defendants knew or had reason to know that “Ramón

   Rodriguez e Hijos, S. en C.” was related in any way to the Property. Indeed, Defendants noted at

   the Post-Remand Hearing that the Gazette “doesn’t make any reference to the [P]roperty at this

   location”, that it “just refers to the limited partnership that allegedly owned the [P]roperty”, and

   that the reference could not have put “anyone on notice that the [P]roperty itself was confiscated.”

   See Post-Remand Hearing Tr. [D.E. 341 at 76:14–19]. Without more, the Second Amended

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   Complaint fails to establish that Defendants acted “knowingly and intentionally” with respect to

   the Property at issue in Plaintiffs’ Title III claim.

           Further, in addition to requiring that the alleged wrongdoer knowingly and intentionally

   “traffics” in confiscated property, a plain reading of the Helms-Burton Act clearly requires that the

   alleged wrongdoer also knowingly and intentionally act “without the authorization of any United

   States national who holds a claim to the property.” 22 U.S.C. § 6023(13); see also Ruan v. United

   States, 142 S. Ct. 2370, 2377 (2022) (“We have accordingly held that a word such as ‘knowingly’

   modifies not only the words directly following it, but also those other statutory terms that ‘separate

   wrongful from innocent acts.’”). As such, Plaintiffs’ disavowal of their duty at the pleading stage

   to plausibly allege that Defendants knowingly and intentionally acted without their authorization

   is ineffective. Hence, the undersigned recommends that Defendants’ Joint Motion to Dismiss be

   granted on these grounds.

           5.      Claim ownership

           Finally, Defendants argue that the Second Amended Complaint fails to allege that Plaintiffs

   own the claim to the Property and that the Property was confiscated from a U.S. national. See

   Joint Post-Remand Brief [D.E. 320 at 19–21] (citing 22 U.S.C. §§ 6082(a)(1)(A), (4)(B)). As

   noted above, the Helms-Burton Act requires that “[i]n the case of property confiscated before

   March 12, 1996, a United States national may not bring an action under this section on a claim to

   the confiscated property unless such national acquires ownership of the claim before March 12,

   1996.” See 22 U.S.C. § 6082(a)(4)(B).

           Plaintiffs allege that they are the “heirs and successors of Ramon Rodriguez Gutiérrez

   [(‘Gutiérrez’)]. . . and the owners of a 90% interest in Ramón Rodriguez e Hijos Sociedad en

   Comandita (‘RRHSC’).” See Sec. Am. Compl. [D.E. 208 ¶ 1]. Plaintiffs further allege that



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   “[b]efore 1961, RRHSC owned and operated the [Property] in Havana” and that “[u]ntil the time

   that RRHSC and the [Property] were confiscated . . . [Gutiérrez] owned and controlled RRHSC.”

   Id. ¶¶ 1, 28. Plaintiffs detail their descendance from Gutiérrez and their inheritance of their

   respective interests. Id. ¶¶ 24–33. However, Defendants contend that Plaintiffs’ allegations just

   confirm “that Gutiérrez did not own the claim to the RRHSC Property—RRHSC did—and that

   Plaintiffs, as Gutiérrez’s descendants, do not own the claim.” See Joint Post-Remand Brief [D.E.

   320 at 19]. Moreover, Defendants argue that Plaintiff Alfredo Ramon Forns (“Forns”) is entirely

   barred from recovering under the Helms-Burton Act; and that Plaintiffs Raul Lorenzo Rodriguez

   (“Lorenzo Rodriguez”), Francisco Ramon Rodriguez (“Ramon Rodriguez”), and Christina Conroy

   (“Conroy”) are partially barred from recovering under the Helms-Burton Act. Id. at 20 (noting

   that Forns is alleged to have inherited his claim in 2013; and that Lorenzo Rodriguez, Ramon

   Rodriguez, and Conroy inherited a portion of their claims in 2019 upon the death of Esther Beltran

   Rodriguez) (citing Sec. Am. Compl. [D.E. 208 ¶¶ 31, 33]).

          Plaintiffs concede that Forns’ claim is subject to dismissal. See Post-Remand Response

   Brief [D.E. 330 at 13]; see also Garcia-Bengochea v. Carnival Corp., 57 F.4th 916, 931 (11th Cir.

   2023) (holding that the plaintiff’s claims failed because he inherited his interest in the confiscated

   property after March 12, 1996). However, the remaining Plaintiffs argue that their claims are

   viable. Plaintiffs rely on De Fernandez v. CMA CGM S.A., 21-CV-22778, 2023 WL 4014730

   (S.D. Fla. Apr. 30, 2023), report and recommendation adopted, 2023 WL 4633553 (S.D. Fla. Jul.

   20, 2023), where the Court considered the defendants’ argument that the plaintiffs’ claims “must

   be dismissed because the [Helms-Burton] Act does not permit claims based on the indirect interests

   of shareholders.” Id. at *13. In De Fernandez, the plaintiffs had alleged that they “owned, in equal

   parts, the Cuban corporations Maritima Mariel SA, Compañía Azucarera Mariel S.A., and several



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   other companies” and that “those companies owned the 70-Year Concession . . . that gave Maritima

   Mariel priority rights in the Bay of Mariel, as well as the extensive land holdings to the southeast,

   south, and west of the Bay of Mariel comprising the [c]onfiscated [p]roperty at issue.” Id. In

   concluding that the plaintiffs’ indirect ownership of the companies amounted to “ownership” of a

   claim under the Helms-Burton Act, the Court reasoned that “[t]he plain language of the [Helms-

   Burton] Act makes clear that plaintiffs who own a claim to confiscated property—not just

   plaintiffs who own or own a direct interest in the confiscated property—are entitled to relief”. Id.

   at *14. Thus, the Court found that the plaintiffs’ “allegation of ownership of claims to the

   [c]onfiscated [p]roperty by virtue of their ownership of shares of entities that owned the properties

   is sufficient to state a claim under Title III of the [Helms-Burton] Act.” Id. (recommending that

   the motion to dismiss be denied “to the extent it [was] based on the argument that the Helms-

   Burton Act does not permit claims based on the interests of shareholders”). Here, Plaintiffs

   specifically allege that they are “the heirs and successors of [Gutiérrez]”; that they are “the owners

   of a 90% interest in [RRHSC]”; and that “RRHSC owned and operated” the Property. See Sec.

   Am. Compl. [D.E. 208 ¶ 1]. Based on the holding in De Fernandez, the undersigned concludes

   that Plaintiffs have plausibly alleged that they “own” their Title III claim by virtue of their

   inheritance of Gutiérrez’s 90% ownership interest in RRHSC.

          Moreover, to the extent that Defendants argue that dismissal is required because the Second

   Amended Complaint does not allege that the Cuban Government confiscated the Property from a

   U.S. national, “the plain language of the [Helms-Burton] Act makes it clear that claimants and

   property owners need not be United States nationals at the time of confiscation to bring a claim.”

   De Fernandez v. Crowley Holdings, Inc., No. 21-cv-20443, 2023 WL 2646346, at *2 (S.D. Fla.

   Mar. 27, 2023). “Rather, the plain language clearly provides a remedy for claimants whose



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   property was confiscated by the Cuban government after the revolution and who—at the time the

   remedy is sought—are United States nationals.” Id. As a result, this argument for dismissal is

   also unavailing.

          Hence, the undersigned recommends that Defendants’ Joint Motion to Dismiss be granted

   only as to Forns on the basis that he does not “own” a Title III claim.

                             SUPPLEMENTAL RECOMMENDATION

          In accordance with the foregoing considerations, the undersigned hereby withdraws her

   prior recommendations that this action be dismissed without prejudice to Plaintiffs refiling their

   action in a proper venue and that Imperial’s Motion to Dismiss, WPP Defendants’ Motion to

   Dismiss, and the Joint Motion to Dismiss be denied without prejudice as moot; and

   RESPECTFULLY RECOMMENDS that:

               Imperial’s Motion to Dismiss [D.E. 226] be GRANTED IN PART for lack of

                  personal jurisdiction;

               WPP Defendants’ Motion to Dismiss [D.E. 229] be GRANTED IN PART for lack

                  of personal jurisdiction; and

               The Joint Motion to Dismiss [D.E. 227] be GRANTED IN PART for failure to state

                  a claim on the grounds that the Second Amended Complaint is time-barred, fails to

                  allege that Defendants acted “knowingly and intentionally”, and fails to allege that

                  Forns “owned” a Title III claim.

          Pursuant to Local Magistrate Judge Rule 4(b), the parties have fourteen days from the date

   of this Report and Recommendation to file written objections, if any, with the Honorable Darrin

   P. Gayles, United States District Judge. Failure to file timely objections may bar the parties from

   attacking the factual findings contained herein on appeal. See Resolution Tr. Corp. v. Hallmark



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   Builders, Inc., 996 F.2d 1144, 1149 (11th Cir. 1993). Further, “failure to object in accordance

   with the provisions of [28 U.S.C.] § 636(b)(1) waives the right to challenge on appeal the district

   court’s order based on unobjected-to factual and legal conclusions.” See 11th Cir. R. 3-1 (I.O.P.

   - 3).

           RESPECTFULLY SUBMITTED in Chambers in Miami, Florida, on this 28th day of

   November, 2023.

                                                ___________________________________
                                                ALICIA M. OTAZO-REYES
                                                UNITED STATES MAGISTRATE JUDGE


   cc:     United States District Judge Darrin P. Gayles
           Counsel of Record




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